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                                 CERTIFICATE OF SERVICE


                 I, David W. Carickhoff, hereby certify that on March 22, 2011, I caused a copy of

the following document to be served on the parties listed on the attached service list in the

manner indicated.

                      Motion For Clarification That Leave Is Not Necessary,
                           Or In The Alternative, For Leave, To Serve
                        Samuel Zell’s Motion For Relief Under Rule 9011



                                                     /s/ David W. Carickhoff
                                                    David W. Carickhoff (DE 3715)




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